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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF WEST VIRGINIA
                                   MARTINSBURG

  UNITED STATES OF AMERICA,


  v.                                                         Criminal Action No. 3:21-CR-49-002
                                                             (GROH)

  DIANA TOEBBE,

                         Defendant.

                  UNITED STATES’ RESPONSE IN OPPOSITION TO
              DEFENDANT’S MOTION TO REOPEN DETENTION HEARING

         Comes now the United States of America and William J. Ihlenfeld, II, United States

  Attorney for the Northern District of West Virginia, by Jarod J. Douglas, Assistant United States

  Attorney for said District, Jessica Lieber Smolar, Special Assistant United States Attorney for said

  District, and S. Derek Shugert and Matthew J. McKenzie, Trial Attorneys, U.S. Department of

  Justice, National Security Division, and respond in opposition to the defendant’s Motion to Reopen

  Detention Hearing [Doc. 75], filed December 8, 2021, asking this Court to reopen the detention

  hearing and reconsider its Detention Order [Doc. 57], entered October 21, 2021.

                                 I.       BACKGROUND

         On October 19, 2021, a Federal grand jury sitting in Elkins returned the instant Indictment

  [Doc. 37], charging the defendant with one count of Conspiracy to Communicate Restricted Data

  and two counts of Communication of Restricted Data, in violation of 42 U.S.C. §§ 2274(a) and

  2014 and 18 U.S.C. § 2(a). As relevant here, the Indictment alleges that the defendant assisted

  her husband in a potentially multi-million-dollar scheme to communicate militarily sensitive

  design elements, operating parameters, and performance characteristics of U.S. Navy nuclear

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  warships to a foreign government (“COUNTRY1”) by acting as a lookout during three of the four

  dead drops involved in the FBI’s undercover operation. Id. at p. 7, ¶ 29; p. 8, ¶ 34, and p. 9, ¶ 41.

         On October 20, 2021, this Court conducted an approximately two-hour-long detention

  hearing [Doc. 51]. The Court heard testimony from one of the FBI case agents, who presented

  video clips and photographs documenting the dead drops and a summary of Signal messages

  between the defendants, among other exhibits. 1 The Court heard testimony from the pretrial

  services officer, who recommended that the defendant be detained. The defendant did not call a

  witness on her behalf. Instead, as particularly relevant here, counsel for the defendant proffered

  and argued that the Signal messages between the defendants, which discussed moving away from

  the United States, were politically motivated and not related to the charged offenses.

         On October 21, 2021, this Court entered the subject Detention Order [Doc. 57], directing

  that the defendant be detained pending trial. The Court based its decision on a finding that the

  government had established by a preponderance of the evidence that the defendant is a flight risk

  and clear and convincing evidence had been presented that the defendant is a danger to the

  community. Furthermore, the court found that no bond conditions could be set to reasonably

  ensure the appearance of the defendant and the safety of the community. The Court provided a

  thorough and detailed explanation of the not fewer than six reasons in support of this decision.




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    On December 2, 2021, the Clerk of Court entered a Notice of Docket Correction [Doc. 72]
  regarding the Clerk’s Witness and Exhibit List [Doc. 55] from the hearing. Specifically, the Clerk
  noted that the Court had not admitted Government’s Exhibit No. 8 during the hearing.
  Government’s Exhibit No. 8 is a photograph of Jonathan Toebbe and the defendant near the dead
  drop location on July 31, 2021. The undersigned does not recall the Court finding that this exhibit
  was inadmissible. Instead, the undersigned assumes that the government inadvertently failed to
  move for its admission. The government now moves the Court to admit Government’s Exhibit
  No. 8.
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          First, the Court determined that the nature and circumstances of the offense weighed in

  favor of detention. In this regard, the Court first summarized the allegations of the Indictment:

          Defendant’s husband, co-Defendant Jonathan Toebbe, held an active “Top Secret”
          security clearance through the United States Department of Defense and an active
          “Q” clearance through the United States Department of Energy, which granted him
          access to information involving or incorporating "Restricted Data" within the
          meaning of the Atomic Energy Act of 1954, 42 U.S.C.§ 2011 et seq. ECF No. 37.
          From on or about April 1, 2020, through October 9, 2021, Defendants Jonathan and
          Diana Toebbe allegedly conspired to sell this restricted information to a foreign
          nation with the intent to injure the United States and secure advantage to a foreign
          nation. Id. After the foreign government, hereinafter COUNTRY1, received the
          sample of Restricted Data and instructions for establishing a covert relationship to
          purchase additional Restricted Data, COUNTRY1 informed the FBI and the FBI
          contacted the supplier to establish an undercover covert relationship. During this
          undercover operation, the FBI arranged four dead drops with Defendants.
          Defendant Diana Toebbe was present at three of the four dead drops.

  ([Doc. 57] at pp. 2-3, ¶ 2). Next, the Court referenced items of evidence presented at the detention

  hearing:

          •   Video from the dead drops show that Diana Toebbe is a willing participant in
              the activity.
          •   Additionally, messages between the Defendants from as early as March 2019
              through October 5, 2020, demonstrate that Defendants were contemplating an
              activity that may require them to leave the country quickly. Specifically, on
              March 4, 2019, Jonathan Toebbe wrote: “I am also thinking about Plan A…it’s
              not morally defensible either. We convinced ourselves it was fine, but it really
              isn’t either, is it?” Diana Toebbe wrote in response to Jonathan on the same
              date. “I have no problems at all with it. I feel no loyalty to abstractions.” On
              March 7, 2019, Jonathan Toebbe wrote, “We’ve got passports, and some
              savings. In a real pinch we can flee quickly. Diana responded on the same
              date, “Right. Let’s go sooner than later.”
          •   The FBI has not recovered the thousands of “Top Secret” documents that
              Defendant offered to sell to the FBI and the money paid to Defendants prior to
              their arrests on October 9, 2021.
  Id. at pp. 3-4, ¶ 2 (bullet points added) (internal citations omitted).

          Second, the Court found that “[t]he weight of the evidence against Defendant Diana

  Toebbe is strong.” ([Doc. 57] at p. 4, ¶ 3).           In this regard, the Court found of particular

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  significance the defendant’s “participation at three of the four dead drops” and Jonathan Toebbe’s

  message to an individual whom he believed to be a representative of COUNTRY1, in which he

  stated that “[t]here is only one other person I know is aware of our special relationship, and I trust

  that person absolutely . . ..” Id.

          Third, the Court noted that “[i]f convicted, Defendant is subject to a lengthy sentence, a

  maximum of life in prison.” Id. at p. 4, ¶ 4.

          Fourth, the Court determined, by clear and convincing evidence, that, “[a]lthough

  Defendant has no prior criminal history, the nature and circumstances of the charges against her

  and her actions demonstrate that Defendant is a danger to every community and to our national

  security . . ..” Id. at p. 4, ¶ 5.

          Fifth, the Court determined, by a preponderance of the evidence, that the defendant is a

  flight risk “and should be detained on those grounds alone.” Id. at p. 4, ¶ 6.

          Sixth, the Court found that “[n]o conditions can be set to reasonably ensure the appearance

  of Defendant and the safety of the community.” Id. at p. 5, ¶ 8. In this regard, the Court was

  “unconvinced” that “electronic monitoring, a third-party custodian, and no computer or internet

  access would suffice to prevent Defendant from fleeing.” Id. at p. 5, ¶ 7.

          On December 8, 2021, the defendant filed the instant motion, asking the Court to reconsider

  its decision based on “new evidence.”

                            II.        APPLICABLE STANDARD

          Title 18, United States Code, § 3142(g) provides the specific factors that are to be

  considered to determine whether there are conditions of release that will reasonably assure the

  appearance of the person as required and the safety of any other person and the community. Those


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  factors are:

      1. The nature and circumstances of the offense charged, including whether the offense is a

          crime of violence, a violation of section 1591, a Federal crime of terrorism, or involves a

          minor victim or a controlled substance, firearm, explosive, or destructive device;

      2. The weight of the evidence against the person;

      3. The history and characteristics of the person, including but not limited to community ties,

          employment, criminal history, record of court appearance or whether the person was on

          probation or parole at the time the current offense was committed; and

      4. The seriousness of the danger to any person or the community that would be posed by the

          person’s release.

          Title 18, United States Code, § 3142(f)(2) authorizes the Court to reopen a detention

  hearing at any time before trial “if the judicial officer finds that information exists that was not

  known to the movant at the time of the hearing and that has a material bearing on the issue whether

  there are conditions of release that will reasonably assure the appearance of such person as required

  and the safety of any other person and the community.”

                                 III.        ARGUMENT

          The defendant offers three grounds for reconsideration. The first two grounds are based

  on a theory of “new evidence,” namely: (1) Signal messages, which the defense claims show that

  the defendant’s desire to leave the country was not related to a scheme to sell classified information

  to a foreign government; and (2) a letter dated November 9, 2021 from Mr. Toebbe to the

  defendant’s father, stating his hope that the defendant “will ultimately be exonerated.” The third

  ground is the willingness and ability of the defendant’s father to post a $100,000 cash bond to


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  secure her release. For the reasons outlined below, none of these bases alone, nor in combination,

  warrants a reconsideration of this Court’s detention decision.

     A. The Signal Messages Do Not Constitute “New Evidence.”

         As an initial matter, the government questions the defendant’s characterization of the

  Signal messages as “new evidence” for at least two reasons. First, counsel for the defendant has

  already proffered and argued that the Signal messages between the defendants, which discussed

  moving away from the United States, were politically motivated and not related to the charged

  offenses. Second, the Signal messages are not “new” to the defendant because she was a party to

  the conversations with her husband of 18 years. This already existing familiarity with the

  messages is reflected in the fact that, again, her counsel proffered and argued about what the

  defense claimed was a broader context to the conversations.

     B. The “New Evidence” Does Not Warrant Reconsideration.

         The “new evidence” does not warrant reconsideration, for the reasons outlined below.

  Before addressing each item, in turn, the government first notes that none of the “new evidence”

  changes the following.

     •   The defendant “participated,” as the Court found, in three of the four dead drops, on June

         26, 2021, July 31, 2021, and October 9, 2021.       In other words, the Court has already

         rejected the argument that the defendant was merely present, as she now reasserts.     The

         Court rejected the argument because the video evidence shows the defendant acting as a

         lookout while her husband, within arm’s reach, knelt and placed an item inside a container

         and removed an item from the container, which was secreted in the middle of a wooded

         area hours away from the defendants’ residence.


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     •   The defendant attempted to conceal her participation in the dead drops.      During two of

         these three dead drops, the defendant disabled her phone by either turning it off or placing

         it in Airplane Mode. Because the defendant’s husband left his phone at home, nearly a

         two-hour drive away on each occasion, her two minor children were unable to contact her

         or their father for an extended period.   On one of these occasions, the defendant’s 11-

         year-old child was home alone.     From this, the Court can reasonably conclude that the

         defendant placed great importance in both her personal participation in these trips and a

         concealment thereof.

     •   The defendant did not attend the dead drop on August 28, 2021, because she was at home

         nursing an injury.   Apparently having no one he trusted as absolutely as his wife to act as

         a lookout, the defendant’s husband serviced this dead drop alone.    Video evidence shows

         that he was noticeably more nervous servicing the dead drop without the assistance of the

         defendant.   In addition, as with the other dead drops, he had left his cell phone at home,

         where the defendant had stayed behind.

     •   At the August 28, 2021, dead drop, Mr. Toebbe left behind a written message to an

         individual whom he believed was a representative of COUNTRY1.                 The message

         included the statements:    “You asked if I am working alone.       There is only one other

         person I know is aware of our special relationship, and I trust that person absolutely.” The

         Court cited these statements as a reason the weight of the evidence against the defendant

         is “strong.” This demonstrates the Court’s conclusion that Mr. Toebbe was referring to

         the defendant as the “only other person” who was “aware” of the “special relationship”

         with COUNTRY1.


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      •   In the same message left behind on August 28, 2021, Mr. Toebbe also talked about the

          possibility that he and his “family” might need to leave the country “on short notice.” The

          Court cited this statement as a reason the defendant is a flight risk.   This shows the Court’s

          conclusion that Mr. Toebbe’s reference to his “family” included the defendant.               As

          relevant here, a post-arrest search of the defendants’ residence found approximately

          $11,300 in U.S. currency located in a box in the defendants’ shared bedroom. 2

      •   On March 4, 2019, Mr. Toebbe and the defendant exchanged the following messages on

          an end-to-end encrypted application called Signal:

              o Mr. Toebbe:       I’m also thinking about Plan A…it’s not morally defensible either.

                  We convinced ourselves it was fine, but it really isn’t either, is it?

              o Defendant:      I have no problems at all with it.    I feel no loyalty to abstractions.

              o Defendant:      This was totally and completely different.

              o Mr. Toebbe:       Let’s forget entirely about Plan B. Wrong to have even considered

                  it.   I’m checking on A now.

      •   In November 2018, a debit for the purchase of a high-level subscription to ProtonMail

          appears on the monthly statement for a bank account jointly held by Mr. Toebbe and the

          defendant.    In November 2020, a similar debit appears on a monthly statement for the

          same account for a renewal of the subscription.




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    The FBI also found evidence in the residence that the defendants had pending applications for
  the expedited approval of new U.S. passports. On October 29, 2021 the U.S. Department of State
  denied the defendant’s application based on this case.
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     •   In other messages to a putative representative of COUNTRY1, Mr. Toebbe stated that he

         had been removing the Restricted Data from his place of employment over an extended

         period.

         1. Signal Messages

         The defendant claims that Signal messages, surrounding those the government offered at

  the detention hearing, show that her desire to leave the country was not related to a scheme to sell

  classified information to a foreign government. Instead, the defendant argues, the messages

  reflect a dissatisfaction with politics that underpinned the comments about leaving the country.

  Because she is no longer dissatisfied, she has no intent to leave the country and is not a flight risk,

  she argues.

         First, the Court’s decision to detain to the defendant did not rise and fall on the 14 Signal

  messages the government offered, all but one sent in March 2019. The Court’s reasoning was

  carefully deliberated and multi-faceted, as reflected by its organized and thorough Order.

         Second, while also very strong evidence of a risk of flight, the government’s primary

  purpose in offering the Signal messages was for the weight of the evidence against the defendant.

  This purpose remains unchanged and intact.            The government intended to highlight the

  defendants’ discussion of Plan A and Plan B, particularly how the defendants described those plans

  using terms and phrases such as “not morally defensible,” “loyalty,” and “wrong.” In the context

  of other close-in-time discussions of leaving the country, one can reasonably conclude that the

  defendants considered these plans as alternative vehicles by which they intended to leave the

  country, whatever the motivation. The government has never denied that messages between the

  defendants in 2019 reflected a dissatisfaction with the state of politics. The government, however,


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  is more concerned with the how than the why. These are not mutually exclusive concepts, though.

  Of course, one can be motivated by politics to leave one country for another, while, at the same

  time, deciding to use illegal means to accomplish the move. In any event, the defendant remains

  a flight risk for the many other reasons articulated by the Court, without regard to additional Signal

  messages that illustrate her dislike of the political landscape at the time. 3

          2. Jonathan Toebbe Letter

          The statement of the defendant’s husband in a letter to her father that he has “high hopes”

  that she “will ultimately be exonerated” is merely evidence that her husband of 18 years and the

  father of their two minor children “hopes” that she will not be convicted of the charges. This

  statement, included in a letter written one month after arrest and only after the Court ordered the

  defendant detained, does not affect the weight of the evidence against the defendant or the fact that

  she is a flight risk “and should be detained on those grounds alone,” as the Court noted. ([Doc.

  57] at p. 4, ¶ 6).

      C. A Bond of $100,000 Posted by Defendant’s Father is Inadequate to Reasonably
         Assure Defendant’s Appearance.

          At the detention hearing, the defendant argued that electronic monitoring, a third-party

  custodian, and no computer access would suffice to prevent the defendant from fleeing. The

  Court stated in the subject Order that it was “unconvinced” by this argument. The cash bond

  proposed by the defendant should be equally unconvincing and rejected. The Court was aware



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    The government finds noteworthy that the defendant frames her comments in the Signal
  messages as a reflection of a “prior” desire to leave the country based on a dissatisfaction with the
  state of politics at that time. Her participation in three dead drops in 2021 would seem divorced
  from the state of politics with which she had previously been dissatisfied. The $5 million dollars
  her husband requested from COUNTRY1 offers an alternative explanation of the defendant’s
  motivation to participate in the alleged offenses without regard to politics.
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  that it could have required the defendant to post a cash bond. The Court did not do so because,

  as it held, “[n]o bond conditions can be set to reasonably ensure the appearance of Defendant . .

  ..”

                               IV.          CONCLUSION

         For the foregoing reasons, the United States respectfully requests that the Court deny the

  defendant’s motion without the need for a hearing.

                             Respectfully submitted,

                             WILLIAM J. IHLENFELD, II
                             UNITED STATES ATTORNEY


                             By:          /s/
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                                   CERTIFICATE OF SERVICE

         I, Jarod J. Douglas, Assistant United States Attorney for the Northern District of West

  Virginia, hereby certify that on the 9th day of December 2021, the foregoing UNITED STATES’

  RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO REOPEN DETENTION

  HEARING was electronically filed with the Clerk of the Court using the CM/ECF system which

  will send notification of such filing to the following:

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